                   6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 1 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                        Eastern District of Oklahoma
                                                       )
               UNITED STATES OF AMERICA                )     JUDGMENT IN A CRIMINAL CASE
                          v.                           )
                                                       )
                                                       )     Case Number:         CR-22-00038-001-RAW
                JACOB LANCE PRITCHETT                  )     USM Number:          90294-509
                                                       )
                                                       )     Robert D. Gifford II
                                                       )     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s)
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)        1 & 2 of the Indictment
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended                Count
18:2241(c), 2246(2)(A),           Aggravated Sexual Abuse in Indian Country                               August 28, 2009                1
 1151, & 1153
18:2244(a)(5), 2246(3),           Abusive Sexual Contact in Indian Country                                January 11, 2010               2
1151, & 1153


       The defendant is sentenced as provided in pages 2 through               7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                is       are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                        October 5, 2023
                                                                        Date of Imposition of Judgment




                                                                           October 6, 2023

                                                                        Date
                    6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 2 of 7
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                                             Judgment — Page       2       of           7
  DEFENDANT:                       Jacob Lance Pritchett
  CASE NUMBER:                     CR-22-00038-001-RAW

                                                                        IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
  total term of:

  Life on each of Counts 1 and 2 of the Indictment. The terms of imprisonment imposed on each count shall be served
  concurrently with one another.


            The court makes the following recommendations to the Bureau of Prisons:

            That the Bureau of Prisons evaluate the defendant and determine if the defendant is a suitable candidate for the Intensive Drug Treatment Program. Should the
            defendant be allowed to participate in the program, it is further recommended that the defendant be afforded the benefits prescribed and set out in 18 U.S.C. §
            3621(e) and according to Bureau of Prisons’ policy.

            That the defendant be placed at FCI El Reno or a facility as close as possible to Oklahoma to facilitate family contact.

            The Court shall be informed in writing as soon as possible if the Bureau of Prisons is unable to follow the Court’s recommendations, along with the reasons for
            not following such recommendations made by the Court.




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                   at                                  a.m.                      p.m.        on                                                        .
                   as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                   before 2 p.m. on                                                      .
                   as notified by the United States Marshal.
                   as notified by the Probation or Pretrial Services Office.

                                                                                RETURN
  I have executed this judgment as follows:



           Defendant delivered on                                                                           to

  at                                                          , with a certified copy of this judgment.



                                                                                                                         UNITED STATES MARSHAL



                                                                                         By
                                                                                                                   DEPUTY UNITED STATES MARSHAL
                   6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 3 of 7
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release

                                                                                                       Judgment—Page     3     of        7


DEFENDANT:                   Jacob Lance Pritchett
CASE NUMBER:                 CR-22-00038-001-RAW

                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
Life on each of Counts 1 and 2 of the Indictment. The terms of supervised release imposed on each count shall run concurrently with one
another.




                                                    MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, not to exceed eight (8) drug tests per month.
                   The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.          You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.          You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.          You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.          You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                 6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 4 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release

                                                                                               Judgment—Page         4        of         7
DEFENDANT:                     Jacob Lance Pritchett
CASE NUMBER:                   CR-22-00038-001-RAW

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer, after
      obtaining Court approval, may require you to notify the person about the risk and you must comply with that instruction. The
      probation officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
                 6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 5 of 7
AO 245B(Rev. 09/19)   Judgment in a Criminal Case
                      Sheet 3D — Supervised Release

                                                                                                    Judgment—Page      5     of       7
DEFENDANT:                 Jacob Lance Pritchett
CASE NUMBER:               CR-22-00038-001-RAW

                                        SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall register pursuant to the provisions of the Sex Offender Registration and Notification Act, or any
              applicable state registration law.

         2.   The defendant shall not be at any residence where children under the age of 18 are residing without the prior written
              permission of the United States Probation Office.

         3.   The defendant shall not communicate, or otherwise interact, with the victims, either directly or through someone else
              without prior approval of the probation officer.
                  6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 6 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                  Judgment — Page     6       of         7
 DEFENDANT:                       Jacob Lance Pritchett
 CASE NUMBER:                     CR-22-00038-001-RAW
                                                CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                           AVAA                             JVTA
                       Assessment             Restitution             Fine
                                                                                           Assessment*                      Assessment**
 TOTALS           $ 200.00                 $ 0.00                 $ 0.00                 $ 0.00                           $ 0.00

      The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                             Total Loss***                     Restitution Ordered                    Priority or Percentage




 TOTALS                              $                                  $
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for             fine      restitution.
            the interest requirement for               fine      restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
                   6:22-cr-00038-RAW Document 80 Filed in ED/OK on 10/06/23 Page 7 of 7

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments

                                                                                                                 Judgment — Page       7      of           7
  DEFENDANT:                  Jacob Lance Pritchett
  CASE NUMBER:                CR-22-00038-001-RAW

                                                        SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A          Lump sum payment of $                                due immediately, balance due

                   not later than                                      , or
                   in accordance with            C,          D,           E, or         F below; or

  B          Payment to begin immediately (may be combined with                    C,           D, or         F below); or

  C          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                             (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

  D          Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                             (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

  E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

  F          Special instructions regarding the payment of criminal monetary penalties:
             Said special assessment of $200 shall be paid through the United States Court Clerk for the Eastern District of Oklahoma, P.O.
             Box 607, Muskogee, OK 74402, and is due immediately.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


       Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                         Joint and Several                 Corresponding Payee,
       (including defendant number)                          Total Amount                           Amount                            if appropriate




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant’s interest in the following property to the United States:



  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
  (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
  prosecution and court costs.
